             Case 14-33165-RAM   Doc 71   Filed 10/22/15   Page 1 of 1




     ORDERED in the Southern District of Florida on October 21, 2015.




                                                  Robert A. Mark, Judge
                                                  United States Bankruptcy Court
_____________________________________________________________________________

                      UNITED STATES BANKRUPTCY COURT
                       SOUTHERN DISTRICT OF FLORIDA
                          www.flsb.uscourts.gov


 IN RE:                                       CASE NO: 14-33165-BKC-RAM
 Rosaura Torres,
                       DEBTOR(S).
                                /

     Order Granting Trustee’s Ex-Parte Motion to Amend the Order
  Confirming Second Amended Chapter 13 Plan dated September 24, 2015
                               (DE #66)

 THIS CASE came on before the Court ex-parte, it is
      ORDERED as follows:
      1.   The Ex-parte Motion to Amend the Order Confirming Second
           Amended Chapter 13 Plan dated September 24, 2015 is
           granted.
      2.   The Order Confirming Second Amended Chapter 13 Plan shall
           be amended so that all references in said Order to the
           Second Amended Chapter 13 Plan shall be changed to
           reference the “Third Amended” Chapter 13 Plan.
      3.   All other provisions of said order shall remain in full
           force and effect.
                                  ###

 PREPARED BY:
 NANCY K. NEIDICH, ESQUIRE, STANDING CHAPTER 13 TRUSTEE,
 P.O. BOX 279306, MIRAMAR, FL 33027-9306
 NANCY K. NEIDICH, ESQUIRE is directed to mail a conformed copy of
 this Order to all creditors and interested parties immediately upon
 receipt thereof.
